                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA


UNITED STATES OF AMERICA                             )
                                                     )       Case No. 1:12-cr-20
v.                                                   )
                                                     )       COLLIER / LEE
RANDY PELL                                           )

                                           ORDER

       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

(1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the two-count

Indictment; (2) accept Defendant’s plea of guilty to Count One of the Indictment; (3) adjudicate

Defendant guilty of the charges set forth in Count One of the Indictment; (4) defer a decision on

whether to accept the plea agreement until sentencing; and (5) find Defendant shall remain in

custody until sentencing in this matter (Court File No. 30). Neither party filed a timely objection

to the report and recommendation. After reviewing the record, the Court agrees with the magistrate

judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the

magistrate judge’s report and recommendation (Court File No. 30) pursuant to 28 U.S.C. § 636(b)(1)

and ORDERS as follows:

       (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Indictment

               is GRANTED;

       (2)     Defendant’s plea of guilty to Count One of the Indictment is ACCEPTED;

       (3)     Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

               Indictment;

       (4)     A decision on whether to accept the plea agreement is DEFERRED until sentencing;

               and



Case 1:12-cr-00020-CLC-SKL          Document 34          Filed 07/23/12   Page 1 of 2      PageID
                                          #: 87
      (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

            scheduled to take place on Thursday, October 11, 2012 at 2:00 p.m. before the

            Honorable Curtis L. Collier.

      SO ORDERED.

      ENTER:

                                           /s/
                                           CURTIS L. COLLIER
                                           CHIEF UNITED STATES DISTRICT JUDGE




                                             2


Case 1:12-cr-00020-CLC-SKL      Document 34      Filed 07/23/12   Page 2 of 2    PageID
                                      #: 88
